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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8                                          )     No. CV-17-02094-PHX-SPL
     Tracy Choubmesser,
 9                                          )
                                            )
                   Plaintiff,               )     ORDER
10                                          )
     vs.
11                                          )
                                            )
     Bureau of Medical Economics, Inc.,     )
12                                          )
13                 Defendant.               )
                                            )
14                                          )

15         No stipulation to dismiss having been filed, in accordance with the Court’s
16   December 4, 2017 Order (Doc. 28),
17         IT IS ORDERED that this action is dismissed with prejudice.
18         IT IS FURTHER ORDERED that the Clerk of Court shall terminate this action.
19         Dated this 5th day of January, 2018.
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21                                                   Honorable Steven P. Logan
                                                     United States District Judge
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